         Case 1:20-cv-03010-APM Document 606 Filed 06/20/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.
                                                    HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.
                                                    HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


      DEFENDANT GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION TO
      AMEND THE AMENDED SCHEDULING AND CASE MANAGEMENT ORDER

        Google opposes Plaintiffs’ motion for the reasons set forth below.

Plaintiffs’ Request to Amend the Case Management Order to Provide for an Additional
Round of Deposition Designations, Counter-Designations, Counter-Counter Designations,
and Objections Thereto

        The Case Management Order (“CMO”) specifies the schedule for pretrial disclosures,

including the exchange of deposition designations. The initial round of disclosures, which

includes the parties’ affirmative deposition designations, are due to be exchanged this Thursday,

June 22 (moved from the original date of June 20 at Plaintiffs’ request); counter-designations and

objections to the opening deposition designations are due to be exchanged July 18; counter-

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         Case 1:20-cv-03010-APM Document 606 Filed 06/20/23 Page 2 of 3




counter designations and objections to counter-designations are due to be exchanged August 15;

and the parties’ joint submission regarding disputes concerning deposition designations is due to

be submitted to the Court on August 22. ECF 108-1 at 5-6. The schedule set forth in the CMO

allows the parties adequate time to exchange their respective designations and objections, and to

review and meet and confer, before presenting any unresolved issues to the Court.

       On Friday evening, June 16, Plaintiffs informed Google for the first time that they would

be seeking relief from the Court to add a future round of deposition designations (and counter-

designations, counter-counter designations, and objections thereto) following the Court

providing additional guidance regarding the length of trial. Plaintiffs’ proposal would undercut

the purpose of the current schedule and introduce unneeded complexity and burden on the parties

during the pretrial process.

       Google does not believe that any further guidance from the Court is necessary for the

parties to designate the deposition testimony they wish to present at trial. The Court has already

provided the parties with guidance regarding the length of trial. To the extent there are witnesses

for whom Plaintiffs have not yet determined whether they will appear live or by deposition

designation, the CMO requires Plaintiffs to provide the deposition designations on June 22, so

that Google may counter-designate and object, as needed, in accordance with the CMO’s

schedule. Google, of course, will do the same—that is, it will provide Plaintiffs the deposition

designations for all witnesses for whom a final decision as to whether the witness will appear

live or by deposition has not been made.

Plaintiffs’ Request for a Status Conference to Discuss the Length of Trial

       Google has followed the Court’s prior guidance regarding trial length, including the

discussions with the Court at the summary judgment hearing, and does not require additional

Court guidance to make its pretrial disclosures to Plaintiffs in accordance with the schedule set

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         Case 1:20-cv-03010-APM Document 606 Filed 06/20/23 Page 3 of 3




forth in the CMO. Accordingly, Google does not believe a status conference to discuss trial

length is necessary at this time, but is available at the Court’s convenience when it believes a

status conference is next appropriate.

Dated: June 20, 2023                           Respectfully submitted,

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